                                     Case 3:24-cv-02531 Document 4 Filed 04/26/24 Page 1 of 2
AO 121 (            6/    )
 TO:

                                                                                                                               REPORT ON THE
                                                                                                                       FILING OR DETERMINATION OF AN
                                                                                                                              ACTION OR APPEAL
                                                                                                                           REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                                           COURT NAME AND LOCATION
                ACTION                       APPEAL
DOCKET NO.                                   DATE FILED

       3:24-02531                                  4/26/2024
PLAINTIFF                                                                                              DEFENDANT




          COPYRIGHT
                                                                               TITLE OF WORK                                                                 AUTHOR OR WORK
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        In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                                INCLUDED BY
                                                              Amendment                         Answer                       Cross Bill                      Other Pleading
          COPYRIGHT
                                                                               TITLE OF WORK                                                                 AUTHOR OF WORK
       REGISTRATION NO.

 1

 2

 3                                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                                   WRITTEN OPINION ATTACHED                                                        DATE RENDERED

                         Order               Judgment                                              Yes                No


CLERK                                                                           (BY) DEPUTY CLERK                                                               DATE



E-FILING INSTRUCTIONS:           Pleaseinitiation
                             1) Upon    fill out, save
                                                    of and e-file in CM/ECF under2)Other
                                                       action,                         Upon Filings
                                                                                               filing> of
                                                                                                        Other Documents
                                                                                                          document        > Copyright
                                                                                                                       adding            for the appropriate
                                                                                                                                copyright(s),                stage oftermination
                                                                                                                                                         3) Upon       your case: of action,
1) Initiation of action: Attorney e-files
                                mail copy Copyright   form;ofif Copyrights
                                             to Register        needed, attach an exhibit page
                                                                                       mail     to list
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2) Adding copyright(s): Attorney e-files updated Copyright form; if needed, attach an exhibit page to list add'l copyright registration/title of work/author or work to the form. DO NOT attach the
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complaint;
                             4) In the event of an appeal, forward copy to Appellate Court                                   5) Case File Copy
3) Termination of action: Court staff completes closing section of Copyright form and e-files.;
4) Appeal: Do not use the Copyright form. Attorney to e-file the appropriate appeal notice.
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                                Attachment A

   COPYRIGHT                 TITLE OF WORK                AUTHOR OR WORK
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TX0008629478         ALL SUMMER LONG                      Hope Larson
TX0006879805         Chiggers                             Hope Larson
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                     & George HC
VA0001911930         Anouk, et al                         Jingna Zhang
VA0001917341         Motherland Chronicles                Jingna Zhang
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                     Scribbles" 2021 Wall
                     Calendar
TX0008207926         Adulthood Is a Myth: A Sarah's       Sarah Andersen
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